
The People of the State of New York, Respondent,
againstCeiro D. (Anonymous), Appellant.




New York City Legal Aid Society (Joanne Legano Ross of counsel), for appellant.
Kings County District Attorney (Leonard Joblove and Keith Dolan of counsel), for respondent.

Appeal from a judgment of the Criminal Court of the City of New York, Kings County (Sharen D. Hudson, J.), rendered June 30, 2015. The judgment adjudicated defendant a youthful offender, upon his plea of guilty to petit larceny. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738 [1967]), seeking leave to withdraw as counsel.




ORDERED that the judgment adjudicating defendant a youthful offender is affirmed.
We are satisfied with the sufficiency of the brief filed by defendant's assigned counsel pursuant to Anders v California (386 US 738 [1967]), and, upon an independent review of the record, we conclude that there are no nonfrivolous issues which could be raised on appeal. Counsel's application for leave to withdraw as counsel is, therefore, granted (see id.; Matter of Giovanni S. [Jasmin A.], 89 AD3d 252 [2011]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]).
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: February 02, 2018










